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ELC.8352                IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

 DANNY PRICE GARRETT                              s
                                                  $
         Plaintiff,                               $
                                                  s
 v.                                               $   CIVIL ACTION NO.2:17-cv-00059-J
                                                  $   JURY DEMAND
 JAMES WALTER CAVE AND               EAN          $
 HOLDINGS, LLC                                    $
                                                  $
         Defendants.                              s

        ORDER ON PLAINTIFF'S MOTION TO DISMISS WITHOUT PREJUDICE

        On this day the Court, having considered Plaintiff DANNY PRICE GARRETT's request

for entry of an Order of dismissal without prejudice all of his claims against Defendant

ENTERPRISE LEASING COMPANY OF CHICAGO, LLC, INCORRECTLY NAMED AS

EAN HOLDINGS, LLC onlv. The Court, being fully advised, is of the opinion that the interest

ofjustice would be served by granting the request of the Plaintiff. It is, therefore:

               ORDERED, ADJUDGED and DECREED that all claims against Defendant EAN

Holdings, LLC are hereby dismissed without prejudice with all costs of Court taxed against the

party incurring same.




        SIGNED   this 22nd            day   of   Septeuber              ,2017.




                                         slMary Lou Robinsoa
                                      MARY LOU ROBINSON
                                      LINITED STATES DISTICT JUDGE



ORDER ON PLAINTIFF'S MOTION FOR DISMISSAL OF ENTERPRISE LEASING COMPANY OF
CHICAGO, LLC' INCORRECTLY NAMED AS EAN HOLDINGS, LLC WITHOUT PREJUDICE- Page                  1
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APPROVED:


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ORDER ON PLAINTIFF'S MOTION FOR DISMISSAL OF ENTERPRISE LEASING COMPANY OF
CHICAGO, LLC,INCORRECTLY NAMED AS EAN HOLDINGS, LLC WITHOUT PREJUDICE_ Page2
